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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


__________________________________________
                                          )
                                          )
TELEBRANDS CORP.,                         )
                                          )
                        Plaintiff,        )
                                          )                 Civil Action No.
                                          )
      v.                                  )
                                          )
                                          )                 JURY TRIAL DEMANDED
MOPNADO,                                  )
                                          )
                        Defendant.        )
__________________________________________)


                                         COMPLAINT

         Plaintiff Telebrands Corp. (“Telebrands”), for its Complaint against Defendant Mopnado

(“Mopnado”), alleges as follows:

                                         THE PARTIES

         1.     Plaintiff Telebrands is a corporation organized and existing under the laws of the

State of New Jersey, having a place of business at 79 Two Bridges Road, Fairfield, New Jersey

07004.

         2.     Upon information and belief, defendant Mopnado has a principal place of

business at 12101 Clark Street, Unit D, Arcadia, California 91006. Upon information and belief,

Mopnado is doing business throughout the United States and within the State of New Jersey, and

within this Judicial District.

                    NATURE OF CLAIMS, JURISDICTION AND VENUE

         3.     This action arises under the Patent Laws of the United States (35 U.S.C. §1 et

seq.), the Trademark and Unfair Competition Laws of the United States (15 U.S.C. § 1051 et
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seq.), and the statutory and common law of the State of New Jersey (N.J.S.A. 56:4-1 et seq.).

          4.   Jurisdiction of this Court is founded upon 15 U.S.C. § 1121, 28 U.S.C. §§ 1331,

1332(a)(1) and 1338(a) and (b), and the supplemental jurisdiction of this Court under 28 U.S.C.

§ 1367. The amount in controversy exceeds the sum or value of $75,000, exclusive of interest

and costs, and there is complete diversity of citizenship between the parties.

          5.   Venue is proper within this Judicial District under 28 U.S.C. Sections 1391(b) and

(c), and 1400(b).

                    FACTS COMMON TO ALL CLAIMS FOR RELIEF

          6.   Telebrands is a direct marketing company and, since 1987, has been engaged in

the business of marketing and selling a wide variety of consumer products in this Judicial

District and elsewhere, principally through direct response advertising and through national retail

stores.

          7.   Telebrands    markets    and    sells   mop    products    under   the     trademarks

HURRICANE®, SPIN MOPTM and/or TWIN SPINTM (collectively, “the HURRICANE

Products”).

          8.   Telebrands has sold the HURRICANE Products since at least as early as 2012.

The HURRICANE Products have been successful. Telebrands sells the HURRICANE Products

through direct response channels to the general consuming public throughout the United States

and within this Judicial District. Telebrands also sells the HURRICANE Products to consumers

through major retailers throughout the United States and within this Judicial District.

          9.   Telebrands has exclusive rights to U.S. Patent No. 8,291,544, entitled “Mop with

the Function of Dewatering the Yarns by Twisting in a Single Direction via an Up-and-Down

Linear Motion,” which issued October 23, 2012 (“the ’544 patent”). Telebrands’ exclusive

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rights include, inter alia, the exclusive right to exclude the defendant in the United States. A

copy of the ’544 patent is attached as Exhibit A.

       10.        Telebrands has exclusive rights to U.S. Patent No. 8,132,287, entitled “Cleaning

Device with Cleaning Means and a Frame Body,” which issued March 13, 2012 (“the ‘287

patent”). Telebrands exclusive rights include, inter alia, the exclusive right to exclude the

defendant in the United States. A copy of the ‘287 patent is attached as Exhibit B.

       11.        Telebrands is the owner of U.S. Trademark Registration No. 3,838,929 for the

mark HURRICANE, which issued August 24, 2010 (“the HURRICANE Trademark”). A copy

of the registration certificate is attached hereto as Exhibit C. The trademark registration is valid

and subsisting.

       12.        Telebrands is the owner of U.S. Trademark Application Serial No. 86/223,494,

filed March 17, 2014, for the mark SPIN MOP for mops, and all common law rights appurtenant

thereto (“the SPIN MOP Trademark”).

       13.        The SPIN MOP Trademark was adopted to indicate the source of the

HURRICANE Products. The mark is non-functional, fanciful, distinctive and well-recognized as

and represents the source of Telebrands’ product sold in association therewith and a substantial

goodwill of Telebrands throughout the United States, including the State of New Jersey.

       14.        The SPIN MOP Trademark has acquired secondary meaning.

       15.        Telebrands’ advertising and promotion highlights the SPIN MOP Trademark.

       16.        As a result of its long and substantially exclusive use, substantial sales and

extensive advertising and promotional activities in connection with Telebrands’ HURRICANE

Products, the SPIN MOP Trademark has become well-known and widely recognized as

indicating the source or origin of Telebrands’ product.

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                               Defendant’s Acts Of Infringement

       17.      On information and belief, Mopnado markets and sells a mop product under the

name MOPNADO – WALKABLE DELUXE SPIN MOP (“the MOPNADO product”)

throughout the United States and within this Judicial District.

       18.     The MOPNADO product is competitive with Telebrands’ HURRICANE Products

and, on information and belief, is sold to consumers through the Internet. Mopnado is a direct

competitor of Telebrands in the market for mops.

       19.     The MOPNADO product infringes at least one claim of each of the ‘544 patent

and the ‘287 patent.

       20.     On information and belief, Mopnado has had notice of the ‘544 patent and the

‘287 patent.

       21.     Mopnado markets and sells the MOPNADO product throughout the United

States, including the State of New Jersey, on the Internet at the URL www.mopnado.com (“the

MOPNADO website”), which provides a link that consumers click to purchase the MOPNADO

product.

       22.     The visible title of the MOPNADO website is “Spin Mop by Mopnado The Best

360 Hurricane Magic Spin Mop you can buy.” An image showing the MOPNADO website is

attached as Exhibit D.

       23.     In its MOPNADO website, Mopnado describes its MOPNADO product as “a new

brand of Deluxe Spin Mop as seen on tv microfiber HURRICANE 360 Mop . . .” The

MOPNADO product is not a new brand or new version of Telebrands’ HURRICANE products

and is not in any way connected or affiliated with Telebrands.

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          24.   The MOPNADO website claims that the MOPNADO product has a “Patented

Handle Driven Spin Drive.” An image showing Mopnado’s statement is attached as Exhibit E.

On information and belief, Mopnado claims to hold a license under U.S. Patent No. 8,316,502

(“the ‘502 patent”). The image depicted in Mopnado’s patent statement is not in the ‘502 patent.

          25.   The MOPNADO website compares the MOPNADO product to “As Seen on TV”

mop products. An image showing the comparison is attached as Exhibit D. On information and

belief, by this comparison the MOPNADO website falsely compares the MOPNADO product to

Telebrands’ HURRICANE products, which are advertised on TV.

          26.   In its MOPNADO website, Mopnado includes a page entitled “EVERYTHING

YOU NEED TO KNOW[;] What Makes the Mopnado so much better than any other mop on the

market?” A user who clicks on that link is directed to a page (www.mopnado.com/pages/the-

difference), where Mopnado identifies the following as a difference between Mopnado and

Telebrands: “The Built in Rinse Agitator.” A print out of the page is attached as Exhibit E.

          27.   Telebrands sells HURRICANE products that include an agitator.

          28.   On information and belief, the MOPNADO product is not covered by any claim

of the ‘502 patent.

          29.   On information and belief, Mopnado’s use of the HURRICANE Trademarks and

the SPIN MOP Trademark is deliberate and intentional with full knowledge of Telebrands’

rights.

          30.   Mopnado’s use of the HURRICANE Trademark and the SPIN MOP Trademark

was and is without Telebrands’ authorization and consent.

          31.   By adopting and using the HURRICANE Trademark and the SPIN MOP

Trademark, and by trading on Telebrands’ valuable goodwill, Mopnado has caused and is likely

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to cause confusion, mistake and deception of purchasers and potential purchasers as to the source

or origin of the MOPNADO product and as to the existence of an association, connection, or

relationship between Mopnado and Telebrands.

       32.     By falsely comparing the MOPNADO product to the HURRICANE products,

Mopnado has misrepresented the nature, characteristics and qualities of the MOPNADO product

and the HURRICANE products.

       33.     Mopnado’s acts as recited herein have been undertaken in bad faith so as to

compete unfairly with Telebrands.

       34.     Mopnado’s actions have damaged and are likely to damage the reputation and

goodwill of Telebrands.



                                 COUNT ONE
                     INFRINGEMENT OF U.S. PATENT NO. 8,291,544


       35.     Telebrands repeats and realleges the allegations set forth in paragraphs 1-34

above, as though fully set forth herein.

       36.     This cause of action arises under Section 35 of the Patent Laws of the United

States, 35 U.S.C. § 271.

       37.     The ’544 patent is valid and enforceable.

       38.     By the acts alleged above, Mopnado has made, used, offered to sell, sold and/or

imported into the United States, and on information and belief, still is making, using, offering to

sell, selling, and/or importing into the United States, products that infringe directly or indirectly

through contributory and/or induced infringement, at least one claim of the ’544 patent, without

Telebrands’ authorization or consent.

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       39.     On information and belief, Mopnado’s infringement has been willful, making this

an exceptional case.

       40.     Mopnado will, on information and belief, continue to infringe upon Telebrands’

rights under § 271 of the Patent Act, unless and until it is enjoined by this Court. Telebrands has

been and is likely to continue to be irreparably injured unless Mopnado is enjoined. Telebrands

has no adequate remedy at law.



                                   COUNT TWO
                       INFRINGEMENT OF U.S. PATENT NO. 8,132,287

       41.     Telebrands repeats and realleges the allegations set forth in paragraphs 1-40

above, as though fully set forth herein.

       42.     This cause of action arises under Section 35 of the Patent Laws of the United

States, 35 U.S.C. § 271.

       43.     The ’287 patent is valid and enforceable.

       44.     By the acts alleged above, Mopnado has made, used, offered to sell, sold and/or

imported into the United States, and on information and belief, still is making, using, offering to

sell, selling, and/or importing into the United States, products that infringe directly or indirectly

through contributory and/or induced infringement, at least one claim of the ’287 patent, without

Telebrands’ authorization or consent.

       45.     On information and belief, Mopnado’s infringement has been willful, making this

an exceptional case.

       46.     Mopnado will, on information and belief, continue to infringe upon Telebrands’

rights under § 271 of the Patent Act, unless and until it is enjoined by this Court. Telebrands has


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been and is likely to continue to be irreparably injured unless Mopnado is enjoined. Telebrands

has no adequate remedy at law.




                            COUNT THREE
      TRADEMARK INFRINGEMENT UNDER SECTION 32 OF THE LANHAM ACT
              (U.S. TRADEMARK REGISTRATION NO. 3,838,929)

   47.       Telebrands repeats and realleges the allegations set forth in paragraphs 1-46 above,

as though fully set forth herein.

   48.       This cause of action for trademark infringement arises under Section 32 of the

Lanham Act, 15 U.S.C. § 1114, and is for infringement of a trademark registered by Telebrands

in the United States Patent and Trademark Office as U.S. Registration No. 3,838,929.

   49.       The unauthorized use of Telebrands’ federally registered trademark is likely to

cause confusion, mistake or deception in that actual and potential customers are likely to believe

that Mopnado’s goods are provided by, sponsored by, approved by, licensed by, affiliated or

associated with, or emanate from Telebrands, and Mopnado’s acts constitute trademark

infringement.

   50.       Mopnado will continue its infringing acts unless enjoined by this Court. Telebrands

has no adequate remedy at law.




                                  COUNT FOUR
                  VIOLATION OF SECTION 43(A) OF THE LANHAM ACT

   51.       Telebrands repeats and realleges the allegations set forth in paragraphs 1-50 above,

as though fully set forth herein.

   52.       This cause of action for false advertising and false designation or origin arises under

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§ 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

   53.       The representations made by Mopnado in its advertising in interstate commerce,

including the “Patented Handle Driven Spin Drive” as set forth above, falsely and misleadingly

describe the nature, characteristics, qualities and/or origin of Mopnado’s product.

   54.       The representations made by Mopnado in its comparative advertising in interstate

commerce including the comparison of the MOPNADO product to the HURRICANE products,

as set forth above, falsely and misleadingly describes the nature, characteristics, and qualities of

the MOPNADO product and Telebrands’ HURRICANE products.

   55.       The misrepresentations made by Mopnado that its MOPNADO product is a “new

brand” of Telebrands’ HURRICANE products are false and misleading, and falsely designate the

origin of Mopnado’s product.

   56.       These statements are material, false and will induce purchasers to purchase

Mopnado’s product.

   57.       Mopnado’s false advertising has a tendency to deceive a substantial segment of its

intended audience into mistakenly believing that its product possesses qualities which it lacks,

and/or falsely designates the origin of its product. On information and belief, purchasers have

been and will continue to be induced thereby to purchase Mopnado’s products.

   58.       Mopnado’s unauthorized use in commerce of the MOPNADO website bearing the

unregistered SPIN MOP Trademark, or a counterfeit, copy or colorable imitation thereof, is

likely to cause confusion, mistake or deception of purchasers and potential purchasers as to the

origin, sponsorship, or approval of Mopnado’s product by Telebrands, and violates Section 43(a)

of the Lanham Act, 15 U.S.C. §1125(a).

   59.       Mopnado’s unauthorized distribution and sale in commerce of goods bearing the

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HURRICANE Trademark and/or the SPIN MOP Trademark, or a counterfeit, copy or colorable

imitation thereof, falsely designates the origin of Mopnado’s goods and is likely to cause

confusion, mistake or deception about the origin, sponsorship or approval of Mopnado’s goods.

   60.       By using the HURRICANE Trademark and/or the SPIN MOP Trademark, or a

counterfeit, copy or colorable imitation thereof, Mopnado has falsely and misleadingly described

and suggested that the products it is selling and offering for sale emanate from, or are associated

with Telebrands or its products.

   61.       As a result of Mopnado’s false and misleading promotion and advertising and false

designation of origin, Telebrands has been and is likely to continue to be injured by diversion of

customers from Telebrands to Mopnado and by the lessening of the goodwill Telebrands’

products enjoy with the buying public unless Mopnado is enjoined.              Mopnado will, on

information and belief, continue to infringe upon Telebrands’ rights under §43(a) of the Lanham

Act unless and until it is enjoined by this Court. Telebrands has no adequate remedy at law.




                        COUNT FIVE
  COMMON LAW TRADEMARK INFRINGEMENT AND UNFAIR COMPETITION


   62.       Telebrands repeats and realleges the allegations set forth in paragraphs 1-61 above

as though fully set forth herein.

   63.       This cause of action arises under New Jersey common law.

   64.       Mopnado, by its acts, has unfairly competed with Telebrands and has infringed

Telebrands’ common law rights in the HURRICANE Trademark and/or the SPIN MOP


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Trademark in violation of the common law of the State of New Jersey. As a result of Mopnado’s

acts, purchasers are likely to be confused, mistaken or deceived as to the origin, sponsorship,

affiliation or approval of Mopnado’s products by Telebrands.

   65.       Telebrands has been and is being damaged by such acts, and damage will continue

unless Mopnado’s acts are enjoined by this Court. Telebrands has no adequate remedy at law.



                                    COUNT SIX
                     UNFAIR COMPETITION UNDER N.J.S.A 56:4-1 et seq.


   66.       Telebrands repeats and realleges the allegations set forth in paragraphs 1-65 above

as though fully set forth herein.

   67.       This cause of action arises under N.J.S.A. § 56:4-1 et seq.

   68.       Mopnado’s unauthorized use in commerce of the MOPNADO website bearing the

HURRICANE Trademark and/or the SPIN MOP Trademark, is likely to cause confusion,

mistake or deception of purchasers and potential purchasers as to the origin, sponsorship, or

approval of Mopnado’s products by Telebrands.

   69.       Mopnado’s unauthorized use in commerce of the MOPNADO website falsely

designates the origin of Mopnado’s product and is likely to cause confusion, mistake or

deception about the origin of Mopnado’s goods.

   70.       By using such copy of the HURRICANE Trademark and/or the SPIN MOP

Trademark, Mopnado has falsely and misleadingly described and suggested that the products that

it is selling and offering for sale emanate from or are sponsored or approved by Telebrands.

   71.       The foregoing acts of Mopnado constitute unfair competition in violation of

N.J.S.A. § 56:4-1.

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   72.        Mopnado’s statutory violations and other wrongful acts have injured and threaten to

continue to injure Telebrands, including loss of customers, dilution of goodwill, confusion of

existing and potential customers and injury to its reputation.

   73.        Telebrands has been and is being damaged by such acts and damage will continue

unless Mopnado’s acts are enjoined. Telebrands has no adequate remedy at law.



                                      PRAYER FOR RELIEF
         WHEREFORE, Plaintiff Telebrands demands judgment as follows:

         a.      Entering judgment in Telebrands’ favor and against Mopnado on all claims and

counterclaims;

         b.      Adjudging and decreeing that Mopnado has unlawfully infringed, contributorily

infringed and/or induced infringement of the ’544 patent and the ‘287 patent, infringed Telebrands’

trademark rights, engaged in false advertising, falsely designated the origin of its products and

unfairly competed with Telebrands;

         c.      Preliminarily and permanently enjoining Mopnado, its agents, factories, servants,

employees and attorneys and all those acting in concert or participation with them from:

                 1.     importing, distributing, advertising, promoting, selling, or offering for sale

                        the MOPNADO product and any other rotating mop product that falls within

                        the scope of any of the patents;

                 2.     infringing the ’544 patent and the ‘287 patent;

                 3.     falsely representing or suggesting that the product Mopnado sells or offers for

                        sale is authorized by or emanates from Telebrands, is “Patented,” falsely

                        representing or suggesting the nature, characteristics, or qualities of the



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                       MOPNADO product, or falsely advertising, representing or suggesting any

                       connection with Telebrands;

               4.      falsely comparing any of its products to any of Telebrands’ products;

               5.      using the HURRICANE Trademark or the SPIN MOP Trademark in its

                       website or any other advertising or promotional material or otherwise

                       infringing those trademarks; and

               6.      otherwise unfairly competing with Telebrands in any manner;

       d.      Requiring Mopnado to pay Telebrands any damages Telebrands has suffered

arising out of and/or as a result of Mopnado’s patent infringement, including Telebrands’ lost

profits, Mopnado’s profits and/or reasonable royalties for Mopnado’s patent infringement, and

any other relief provided for in 35 U.S.C. § 284;

       e.      Requiring Mopnado to pay its profits to Telebrands, any damages sustained by

Telebrands as a result of its acts, and Telebrands’ costs for the action, pursuant to 15 U.S.C. §

1117(a) and/or N.J.S.A. 56:4-1 et seq. and/or any other damages recoverable under any other

statute or law alleged in this Complaint;

       f.      Awarding Telebrands its reasonable attorneys’ fees because of the exceptional

nature of this case, pursuant to 35 U.S.C. § 285, 15 U.S.C. § 1117(a) and/or N.J.S.A. 56:4-1 et

seq. and/or any other statute alleged in this Complaint;

       g.      Requiring Mopnado to pay to Telebrands treble damages due to the exceptional

circumstances of this case, pursuant to 15 U.S.C. § 1117(a) and/or N.J.S.A. 56:4-1 et seq. and/or

any other statute alleged in this Complaint; and

        h.     Granting such other and further relief as this Court deems just and proper.



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                                  DEMAND FOR JURY TRIAL

       Plaintiff demands a jury trial on all issues and claims so triable.

                                              Respectfully submitted,

December 22, 2014                         By Liza M. Walsh
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                       LOCAL CIVIL RULE 11.2 CERTIFICATION

       Pursuant to Local Civil Rule 11.2, Telebrands, through its attorneys, certifies that the matter

in controversy between Telebrands and Mopnado is also the subject of the following matters

pending in this District before the Honorable Jose L. Linares, U.S.D.J.: Telebrands v. KGM Global,

Inc., No. 2:14-cv-06566 and Telebrands v. Beach Sales & Engineering LLC, et al., No. 2:14-cv-

07199; and the following declaratory judgment action filed in the Northern District of Ohio, Eastern

Division on November 14, 2014 before the Honorable Christopher A. Boyko, U.S.D.J.: Beach Sales

& Engineering LLC v. Telebrands Corp., No. 1:14-cv-02516-CAB.




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                            LOCAL CIVIL RULE 201.1 CERTIFICATION

       Pursuant to Local Civil Rule 201.1, Telebrands, through its attorneys, certifies that the

above captioned matter is not subject to compulsory arbitration.




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